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                        UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION


  UNITED STATES OF AMERICA,                   *
                                              * CASE NO.: CR214-14
  V.
                                              *
                                              *
  LARRY JAMES CARTER,                         *
       Defendant.                             *


                                          ORDER

         Upon consideration of the Motion for Leave of Absence by attorney RONALD E.

  HARRISON II for the dates of September 26-29, 2014; November 10-14, 2014; December 12-

   15, 2014 and December 29-January 5, 2015, the same is hereby GRANTED.

         SO ORDERED, this      2      ay of                           3 2014.




                                   tiP2
                                               p;        United States District Court
                                                         rn District of Georgia
